17-51400 - #10-1 File 11/02/17 Enter 11/02/17 16:44:57 Exhibit A. Note Pg 1 of 6
17-51400 - #10-1 File 11/02/17 Enter 11/02/17 16:44:57 Exhibit A. Note Pg 2 of 6
17-51400 - #10-1 File 11/02/17 Enter 11/02/17 16:44:57 Exhibit A. Note Pg 3 of 6
17-51400 - #10-1 File 11/02/17 Enter 11/02/17 16:44:57 Exhibit A. Note Pg 4 of 6
17-51400 - #10-1 File 11/02/17 Enter 11/02/17 16:44:57 Exhibit A. Note Pg 5 of 6
17-51400 - #10-1 File 11/02/17 Enter 11/02/17 16:44:57 Exhibit A. Note Pg 6 of 6
